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                                     IN THE I'NITED STATES DISTRXCT COT'RT FO
                                             SOIXTHERNDISTRICT OF GEORGIA
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                                                                                                                                        l:, .l l.i :l l\,/.
                                                   BRTTNSI{ICKDIVISION
                                                                                                                                     ?CIr\ l0 Pll
                                                                                                                                       D'r"t
UN]TED STATES OF AMERICA

                    vs.                                                                         *            CR 2gj -026           i:L{P,

BILLY GUYTON, SR,



                                                                                         ORDER


                    Defendant has fifed                                           a motion for                    reduction        of sentence under

18 U.S.C.                             S 3582(c) (2) on the                                          basis          that   Amendment 182 to                                the

UniLed Stares                                       Sentencing                     Cuidefines                     has revised              the                 guidelines

^-hl                                               - lr? , u, ^9    -r:;f
d l - ] l - ) r r iL^d- ll.-,lr6E         rL-U^    u                          f i rlzi   nrr        nf    fcneac          tr17an   lL- lhr v. \qt 9r r. rr h    Ar.Fn.lm^-+'



782 became effective                                                        on November 1,                         2414, no defendant                               may be

released                             on           the              basis          of       the             retroactive             amendment before

November 1, 2015.                                                  See U.S.S.G. Amend. 788.                                 Thusf the Court will

undercake a review of cases involving                                                                               drug crafficking                             offenses

in due course.                                            If       Defendant is                     entitled            to a sentence reduction

as             a          resul-t                  of              amendments to                          the      United       States                         Sentencinq

Guidefines,                                   the            Court            will        make such a reduction                                          sua sporte.
                                                                            / e
a^-^rr.l                  i hdl      \/           no Fa^d:nl-                     mnt     inn            /r"lnn           4l-0) is DEEqs*-

                    ORDER                     ENTERED                    af       Augusra/                  beo rg f 4,,      Lhis /DA.u                                   or
December,                            2014.




                                                                                                              UNITED ST            S DISTR]CT


                    i               The Clerk                       is        directed               to      terminate          the           motion                for
:nmiricl-r:r                              i                                        Alc.\            naf     an.l:nr'c       mr'\f i.\n           i.\:nnninr.

counsel                             (doc. no.                      409) is           hereby DENIED.
